

*73
After Remand from the Supreme Court

THOMPSON, Judge.
This court, on December 15, 2000, affirmed the trial court’s judgment, without an opinion. 822 So.2d 490 (Ala.Civ.App.2000) (table). The Supreme Court of Alabama has reversed this court’s judgment and remanded the cause. Ex parte Legal Environmental Assistance Found., Inc., 832 So.2d 61 (Ala.2002). In compliance with the Supreme Court’s opinion, the judgment of the trial court is reversed and the cause is remanded for further proceedings consistent with the Supreme Court’s opinion.
REVERSED AND REMANDED.
YATES, P.J., and CRAWLEY, PITTMAN, and MURDOCK, JJ., concur.
